872 F.2d 420Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lee Robert WILLIAMS, Plaintiff-Appellant,v.Aaron J. JOHNSON, Nathan Rice, Robert Newton, Defendants-Appellees.
    No. 88-6838.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 30, 1988.Decided March 23, 1989.Rehearing and Rehearing In Banc Denied May 1, 1989.
    
      Lee Robert Williams, appellant pro se.
      Lucien Capone, III, Office of the Attorney General, for appellees.
      Before ERVIN, Chief Judge, WILKINS, Circuit Judge, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Lee Robert Williams appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Williams v. Johnson, C/A No. 87-983-CRT (E.D.N.C. Sept. 6, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    